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         10        QUALCOMM INCORPORATED

         11
                                               UNITED STATES DISTRICT COURT
         12
                                         NORTHERN DISTRICT OF CALIFORNIA
         13
                                                  SAN FRANCISCO DIVISION
         14
                   IN RE: QUALCOMM ANTITRUST                       Case No. 3:17-md-02773-JSC
         15        LITIGATION
                                                                   QUALCOMM’S REPLY TO PLAINTIFFS’
         16                                                        RESPONSE TO DEFENDANT
                                                                   QUALCOMM INCORPORATED’S BILL
         17        This Document Relates To:                       OF COSTS

         18        ALL ACTIONS
                                                                   Dept.:    Courtroom 8, 19th Floor
         19                                                        Judge:    Hon. Jacqueline Scott Corley
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                            QUALCOMM’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT QUALCOMM
                                             INCORPORATED’S BILL OF COSTS
                                                 Case No. 3:17-md-02773-JSC
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             1             Defendant Qualcomm respectfully submits this reply to Plaintiffs’ Response to its Bill of

             2    Costs.

             3             On October 5, 2023, the Court entered its Final Judgment in this matter. See ECF No.

             4    1008. On October 19, 2023, Qualcomm submitted its bill of costs in this matter. See ECF No.

             5    1010. On November 3, 2023, Plaintiffs submitted what they referred to as their response to that

             6    bill of costs. See ECF No. 1012. In that response, Plaintiffs did not contest the substance of

             7    Qualcomm’s bill of costs, but instead “request[ed] that the Court stay enforcement of the Bill of

             8    Costs pending appeal.” Id. On March 27, 2025, the mandate of the United States Court of

             9    Appeals for the Ninth Circuit in the appeal of this matter was entered on this Court’s docket. See

         10       ECF No. 1044. On April 9, 2025, Judge Corley entered an order in accordance with the Ninth

         11       Circuit’s mandate and ordered that the case be closed. See ECF No. 1046.

         12                Accordingly, Qualcomm respectfully submits that it is now time for the Court to tax the

         13       costs set forth in Qualcomm’s bill of costs, and respectfully requests that the Clerk do so.

         14        Dated: April 16, 2025                                   KEKER, VAN NEST & PETERS LLP
         15

         16                                                        By:     /s/ Eugene M. Paige
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